    Case 1:25-cv-00023-DMT-CRH           Document 21       Filed 06/11/25    Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

Kathleen Ronning-Schimetz,
                                                Case No. 1:25-cv-00023
                  Plaintiff,
                                                UNITED STATES OF AMERICA’S
                  v.                            UNOPPOSED MOTION FOR
                                                EXTENSION OF TIME FOR CLARK V.
North Dakota Office of the Adjutant             JOHNSON TO ANSWER OR
General; Clark V. Johnson, in his               OTHERWISE RESPOND
individual capacity; and Stephen P.
Herda, in his individual capacity,

                  Defendants.


       Pursuant to 28 U.S.C. § 517 and Department of Justice Manual § 4-5.410, Jennifer

Klemetsrud Puhl, Acting United States Attorney for the District of North Dakota, and

Tara Vavrosky Iversen, Assistant United States Attorney, appear for the limited purpose

of submitting this motion under Rule 6(E)  $ of the Federal Rules of Civil Procedure

to seek an extension of time for federal employee Clark V. Johnson to respond to

Plaintiff’s Complaint.1 ECF 1. The undersigned has advised the other parties to this

matter of the United States’ intent to file a motion for extension of time; both Plaintiff’s

counsel and counsel for the State Defendants advised they would not oppose the United

States’ motion.

       1.    On February 2, 2025, Plaintiff Kathleen Ronning-Schimetz (“Plaintiff”),

filed a complaint against the North Dakota Office of the Adjutant General (“OTAG”);


1
  Department of Justice Manual § 4-5.410 states “[w]hile a request for individual capacity
representation is pending, Department attorneys may seek an extension of time for the
defendant employee to respond to a complaint to preserve the status quo, provided the
motion makes it clear the Department attorney is appearing for that limited purpose and
that a representation decision is pending within the Department.”
    Case 1:25-cv-00023-DMT-CRH           Document 21       Filed 06/11/25    Page 2 of 3




Clark V. Johnson, in his individual capacity (“Mr. Johnson”); and Stephen P. Herda, in

his individual capacity (“Mr. Herda”). ECF 1.

        2.    The Complaint alleged that Mr. Johnson was, at all relevant times, an

individual person acting under color of state law who may be sued in his individual

capacity pursuant to 42 U.S.C. § 1983. ECF 1 ¶ 6.

        3.    On April 10, 2025, the undersigned advised Plaintiff’s counsel that Mr.

Johnson was a federal employee, that he had requested individual capacity representation

from the United States Department of Justice (the “Department”), and that a decision on

the request for representation was still pending with the Department’s Civil Division,

Constitutional and Specialized Torts Section in Washington, D.C. The undersigned also

advised Plaintiff’s counsel that the United States Attorney’s Office had no record of

being served in this matter as required by Federal Rule of Civil Procedure 4(i)(3).

        4.    On April 15, 2025, the United States Attorney’s Office received a copy of

the Summons and Complaint via personal delivery. ECF 18. Under Rule 12(a)(3) of the

Federal Rules of Civil Procedure, federal officials sued in their individual capacities are

required to file their first responsive pleading “within 60 days after service on the officer

or employee or service on the United States Attorney, whichever is later.” Fed. R. Civ. P.

12(a)(3). The United States calculates Mr. Johnson’s Answer deadline to be June 16,

2025.

        5.    As a federal employee sued in his individual capacity, Mr. Johnson may be

entitled to representation by the Department under 28 C.F.R. § 50.15.




                                              2
    Case 1:25-cv-00023-DMT-CRH           Document 21     Filed 06/11/25     Page 3 of 3




       6.     The process for determining whether a federal official is entitled to

Department representation requires several steps including review by the employee’s

agency, review by the Department’s Civil Division, and finally a decision to accept

Department representation by the employee. See 28 C.F.R. § 50.15(a)(1)–(12).

       7.     The process for reviewing Mr. Johnson’s request for representation is

underway but likely will not be concluded by June 16, 2025, when Mr. Johnson’s

responsive pleading is due. Additional “[t]ime is needed for the United States to

determine whether to provide representation to the defendant officer or employee.” Fed.

R. Civ. P. 12 advisory committee’s note to 2000 amendment.

       8.     The Department anticipates that a 60-day extension will provide sufficient

time to obtain a determination regarding Department representation and for Mr. Johnson

to prepare an appropriate response to the complaint.

       Accordingly, the Department respectfully requests that the Court grant

Mr. Johnson a 60-day extension, to August 15, 2025, to respond to Plaintiff’s complaint.

       Dated: June 10, 2025

                                          JENNIFER KLEMETSRUD PUHL
                                          Acting United States Attorney

                                   By:    /s/
                                          ____________________________
                                              Tara Vavrosky Iversen
                                          TARA VAVROSKY IVERSEN
                                          Assistant United States Attorney
                                          MN Bar ID 0387790
                                          655 First Avenue North, Suite 250
                                          Fargo, ND 58102-4932
                                          (701) 297-7400
                                          tara.iversen@usdoj.gov
                                          Attorney for United States of America



                                             3
